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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 4.2
                               Eastern Division

MacNeil Automotive Products Limited
                                             Plaintiff,
v.                                                          Case No.: 1:10−cv−04088
                                                            Honorable Gary Feinerman
Winfield Consumer Products, Inc.
                                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, November 15, 2011:


         MINUTE entry before Honorable Gary Feinerman: The parties having filed a joint
stipulation of dismissal with prejudice [73], all claims are dismissed with prejudice, each
side bearing its own fees and costs. The court shall retain jurisdiction to enforce the
parties' settlement agreement. Status hearing scheduled for 11/29/2011 [72] is stricken.
Civil case terminated.Mailed notice.(jlj)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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